Case 1:01-cv-12257-PBS Document 56-2 Filed 03/18/02 Page 1 of 30

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

Case No. 01-12257 PBS
CITIZENS FOR CONSUMER JUSTICE,
CITIZEN ACTION OF NEW YORK,
COLORADO PROGRESSIVE COALITION,
CONGRESS OF CALIFORNIA SENIORS,
CONNECTICUT CITIZEN ACTION
GROUP, FLORIDA ALLIANCE FOR
RETIRED AMERICANS, GRAY
PANTHERS OF SACRAMENTO, HEALTH
CARE FOR ALL, INC., HEALTH ACTION
NEW MEXICO, MAINE CONSUMERS FOR
AFFORDABLE HEALTH CARE,
MASSACHUSETTS SENIOR ACTION
COUNCIL, MASSPIRG, MINNESOTA
SENIOR FEDERATION, NEW JERSEY
CITIZEN ACTION, NEW YORK
STATEWIDE SENIOR ACTION COUNCIL,
NORTH CAROLINA FAIR SHARE,
OREGON HEALTH ACTION CAMPAIGN,
OREGON STATE PUBLIC INTEREST
RESEARCH GROUP, PENNSYLVANIA
ALLIANCE FOR RETIRED AMERICANS,
UNITED SENIOR ACTION OF INDIANA,
INC., VERMONT PUBLIC INTEREST
RESEARCH GROUP, WEST VIRGINIA
CITIZEN ACTION, WISCONSIN CITIZEN
ACTION, BETTY SICHER, JOAN LEE,
JOHN BENNETT, PEARL MUNIC, SUE
MILES, and JACK DOUGLAS,

Plaintiffs,

FIRST AMENDED
COMPLAINT

Jury Trial Demanded

V.

ABBOTT LABORATORIES, INC.,
ALLERGAN WORLDWIDE, ALPHA
THERAPEUTIC CORP., AMERICAN
BIOSCIENCE, INC., AMERICAN HOME
PRODUCTS CORPORATION, AMGEN INC.,
ASTRAZENECA US, AVENTIS PHARMA,
BAXTER INTERNATIONAL, INC., BAYER
CORP., BRISTOL-MYERS SQUIBB CO.,
CHIRON, DEY, INC.,

FUJISAWA HEALTHCARE, INC.,
IMMUNEX CORP., ELI LILLY AND

meee meee amet” mee” eet mee me” ee meee eee eee ee eee eee” nee emg nme meee eee me” mee eee ne Cre” ee!” mee eee! Smee” ee” Spee” meee nee mee” meee” meee” net re nee nee” eee! Sane” Sone mee” ere”

M:\AWP\Pleading\FirstAmendedComplaint.doc

Case 1:01-cv-12257-PBS Document 56-2 Filed 03/18/02 Page 2 of 30

COMPANY, ONCOLOGY THERAPEUTICS _ )
NETWORK CORP., PHARMACIA CORP., )
PHARMACIA & UPJOHN COMPANY, )
SCHERING-PLOUGH, CORP., SICOR, INC.,  )
SMITHKLINE BEECHAM CORPORATION __ )
d/b/a GLAXOSMITHKLINE, and TAKEDA _)
CHEMICAL INDUSTRIES LTD., )

)

)

Defendants.

Plaintiffs, on behalf of themselves, their constituent members and all others
similarly situated allege, upon information and belief, except for paragraphs five through sixteen
which are based on personal knowledge, as follows:

INTRODUCTION

1. Plaintiffs bring this action on behalf of Medicare Plan B beneficiaries —
elderly and disabled Americans who, in recent years, have received medical treatment for serious
illnesses and disabilities — and their insurers to prevent Defendant pharmaceutical manufacturers
(“Defendants”) from continuing to unlawfully manipulate the Medicare reimbursement system.
By fraudulently inflating price reimbursement allowance rates for high profit-margin drugs,
Defendants have caused Medicare Plan B beneficiaries to incur millions of dollars in unnecessary
and unlawfully inflated co-payment charges for drug regimens required to treat chronic, life-
threatening disease, including cancer, renal failure, pulmonary diseases, and other serious
ailments.

2. Medicare requires Plan B recipients to contribute twenty percent (20%) of all
charges for benefits covered under the plan in addition to payment of a monthly premium and a
yearly deductible. Plaintiffs seek declaratory relief finding that Defendant pharmaceutical
manufacturers’ practice of grossly inflating and manipulating Medicare Plan B reimbursement

allowance rates violates applicable law. Plaintiffs also seek monetary relief to compensate

M:\AWP\Pleading\FirstAmendedComplaint.doc

Case 1:01-cv-12257-PBS Document 56-2 Filed 03/18/02 Page 3 of 30

Medicare Pian B beneficiaries and their insurers for the Defendants’ unlawful conduct.

3. This action is brought pursuant to the Declaratory Judgment Act, 28 U.S.C. §
2202, and the Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1961
et seq., by Plaintiffs Citizens for Consumer Justice, Citizen Action of New York, Colorado
Progressive Coalition, Congress of California Seniors, Connecticut Citizen Action Group, Florida
Alliance For Retired Americans, Gray Panthers of Sacramento, Health Care for All, Inc., Maine
Consumers for Affordable Health Care, Massachusetts Senior Action Council, MASSPIRG,
Minnesota Senior Federation, New York StateWide Senior Action Council, North Carolina Fair
Share, Oregon State Public Interest Research Group, Oregon Health Action Campaign,
Pennsylvania Alliance for Retired Americans, United Senior Action of Indiana, Inc., Vermont
Public Interest Research Group, West Virginia Citizen Action, Wisconsin Citizen Action, Betty
Sicher, Joan Lee, John Bennett, Pearl Munic, Sue Miles and Jack Douglas.

4. This action is brought against each of the named Defendants: Abbott
Laboratories, Inc., Allergan Worldwide, Alpha Therapeutic Corp., American Bioscience, Inc.,
American Home Products Corporation, Amgen Inc., AstraZeneca US, Aventis Pharma, Bayer
Corp., Baxter International, Inc., Bristol-Myers Squibb Co., Chiron, Dey, Inc., F ugisawa
Healthcare, Inc., Immunex Corp., Eli Lilly and Company, Oncology Therapeutics Network
Corp., Pharmacia & Upjohn Company, Pharmacia Corp., Schering-Plough, Corp., SICOR, Inc.,
Smithkline Beecham Corporation d/b/a/ GlaxoSmithKline, and Takeda Chemical Industries, Ltd.,
seeking declaratory, monetary and other relief regarding certain business practices common to all
Defendants — the artificial and fraudulent inflation of publicized average wholesale prices for
Medicare Plan B pharmaceuticals. These practices are unlawful under applicable federal law and

violate the rights of Medicare Plan B beneficiaries and their insurers.

M:AAWP\Pleading\FirstAmendedComplaint.doc

Case 1:01-cv-12257-PBS Document 56-2 Filed 03/18/02 Page 4 of 30

5. The pharmaceutical manufacturers each implemented fraudulent schemes by:
(i) promulgating so-called “average wholesale prices” (“AWP’’) for Medicare Plan B Covered
Drugs (“Covered Drugs”) that bear no relation to actual wholesale prices; (ii) abusing the
authority Congress vested in the industry to formulate and publish legitimate and accurate
average wholesale prices; (iii) creating artificial and grossly inflated AWP prices for publication
in the Red Book, Medi-Span, and Price Alert — the resources used by carriers and clinicians to
determine Medicare Plan B reimbursement allowances; (iv) encouraging clinicians to administer
drugs with the highest AWP in order to receive the greatest retmbursement allowances; and (v)
providing additional incentive to clinicians to administer drugs with high AWPs by consistently
and regularly decreasing the clinician’s acquisition costs without reflecting the decrease in the
listed AWP.

6. Clinicians increasingly profited as the “spread” between the acquisition cost
and the AWP grew. Manufacturers, on the other hand, benefited where their product offered the
greatest “spread” because demand increased dramatically enabling them to achieve massive sales
increases and garner a significant competitive edge over manufacturers of similar drugs.

7. Asaresult, each pharmaceutical manufacturer developed, managed and
maintained a regular and consistent scheme resulting in massive over-pricing of Medicare Plan B
medications. Chronically ill and disabled Medicare Plan B beneficiaries and their insurers bore,
and continue to bear, the costs associated with Defendants’ scheme to illegally manipulate an
otherwise legitimate enterprise.

8. Defendants are each hable under RICO, 18 U.S.C. § 1961 et seq., to the
proposed class of Medicare Plan B beneficiaries. Each Defendant fraudulently manipulates

reimbursement allowances for Medicare Part B covered drugs — a repeated violation of federal

M:\AWP\Pleading\FirstAmendedComplaint.doc

Case 1:01-cv-12257-PBS Document 56-2 Filed 03/18/02 Page 5 of 30

mail and wire fraud statutes. Defendants cause physicians, physician groups and other health
care providers - otherwise legitimate “enterprises” within the nomenclature of RICO — to demand
artificially inflated prices from the Medicare system and Plan B participants with full knowledge
that the Medicare beneficiaries and other end-payors suffer severe financial harm as a direct
result of their illegal activities.

9. Defendants have infiltrated an established legitimate business practice by
interfering with the ongoing relationship between health care providers and their elderly and
disabled patients through coercive and manipulative conduct designed to extort extra revenues by
grossly distorting and exaggerating the actual wholesale cost of their products.

10. Defendants intentionally abused the regulatory system to take financial
advantage of elderly and disabled Medicare Part B participants and their insurers.

JURISDICTION AND VENUE

11. This Court has subject matter jurisdiction pursuant to the Racketeer
Influenced and Corrupt Organizations Act, 18 U.S.C. § 1961 et seq., and 28 U.S.C. § 1331.

12. The Court has jurisdiction to fashion declaratory and equitable relief pursuant
to the Declaratory Judgment Act, 28 U.S.C. § § 2201 and 2202.

13. Venue is proper within this district under 15 U.S.C. § 22 and 28 U.S.C. §
1391(b) and (c) because Defendants do business in this district, certain acts giving rise to the
claims asserted in this Complaint occurred within this district, and some Plaintiffs and members
of the Class sustained injury within this district as a result of Defendants’ illegal actions.

PARTIES
Plaintiffs
14. Plaintiff Citizens for Consumer Justice (““CCJ”) is a Pennsylvania nonprofit

umbrella organization that promotes affordable, quality health care. It is located at Architects

M:;\AWP\Pleading\FirstAmendedComplaint.doc

Case 1:01-cv-12257-PBS Document 56-2 Filed 03/18/02 Page 6 of 30

Building, 117 South 17th Street, Ste. 311, Philadelphia, Pennsylvania. During the class period,
Plaintiff's members indirectly purchased prescription pharmaceuticals manufactured and/or
distributed by Defendants and were injured by the illegal conduct alleged herein. As an
unincorporated association, CCJ has standing to pursue this action under Fed. R. Civ. P. 17(b)(1).

15. Plaintiff Citizen Action of New York (“CANY’”) is a coalition of labor, senior
citizen, women’s, student, tenant and community organizations that works with community
activists for social and economic justice. It is located at 94 Central Avenue, Albany, New York.
As an unincorporated association, CANY has standing to pursue this action under Fed. R. Civ. P.
17(b)(1).

16. Plaintiff Colorado Progressive Coalition (“CPC”) is a statewide nonprofit,
multiracial network of groups and individuals united for racial and economic justice since 1996.
It is located at 1420 Ogden Street, 1st Floor, Denver, Colorado. During the class period,
Plaintiff's members indirectly purchased prescription pharmaceuticals manufactured and/or
distributed by Defendants and were injured by the illegal conduct alleged herein. As an
unincorporated association, CPC has standing to pursue this action under Fed. R. Civ. P. 1 7(b)(1).

17. Plaintiff Congress of California Seniors (“CCS”) is a nonprofit organization
representing over 650,000 Californian senior citizens and their families. It is located at 1228 N
Street, Suite 29, Sacramento, California. During the class period, Plaintiff's members indirectly
purchased prescription pharmaceuticals manufactured and/or distributed by Defendants and were
injured by the illegal conduct alleged herein. As an unincorporated association, CCS has
standing to pursue this action under Fed. R. Civ. P. 17(b)(1).

18. Plaintiff Connecticut Citizen Action Group (“CCAG”) is a statewide

membership organization dedicated to working with people to bring about social, economic and

M:\AWP'Pleading\FirstAmendedComplaint.doc

Case 1:01-cv-12257-PBS Document 56-2 Filed 03/18/02 Page 7 of 30

environmental justice. It is located at 139 Vanderbilt Avenue, West Hartford, Connecticut.
During the class period, Plaintiff’s members indirectly purchased prescription pharmaceuticals
manufactured and/or distributed by Defendants and were injured by the illegal conduct alleged
herein. As an unincorporated association, CCAG has standing to pursue this action under Fed. R.
Civ. P. 17(b)(1).

19, Plaintiff Florida Alliance for Retired Americans (“FLARA”) is a nonprofit
umbrella organization formed in 1963 representing over 80 groups of retired Floridians with a
cumulative membership of over 80,000 individuals. It is located at 12773 West Forest Hill Blvd.,
Ste. 1213, Wellington, Florida. During the class period, Plaintiff's members indirectly purchased
prescription pharmaceuticals manufactured and/or distributed by Defendants and were injured by
the illegal conduct alleged herein. As an unincorporated association, FLARA has standing to
pursue this action under Fed. R. Civ. P. 17(b)(1).

20. Plaintiff Gray Panthers of Sacramento (“Gray Panthers’) is a non-profit
organization devoted to advocating justice and equal access for its members and those who are
powerless. It has an address at P.O. Box 19438, Sacramento, California 19348. During the class
period, Plaintiff's members indirectly purchased prescription pharmaceuticals manufactured and
or distributed by Defendants and were injured by the illegal conduct alleged herein. As an
unincorporated association, Gray Panthers has standing to pursue this action under Fed. R. Civ. P.
17(b)(1).

21. Plaintiff Health Care For All, Inc. (“HCA”) is a non-profit organization
devoted to making health care a right of all people. It is located at 30 Winter Street, 10th Floor,
Boston, Massachusetts. During the class period, Plaintiff's members indirectly purchased

prescription pharmaceuticals manufactured and/or distributed by Defendants and were injured by

M:\A WP\Pleading\f‘irstAmendedComplaint.doc

Case 1:01-cv-12257-PBS Document 56-2 Filed 03/18/02 Page 8 of 30

the illegal conduct alleged herein. As an unincorporated association, HCA has standing to
pursue this action under Fed. R. Civ. P. 17(b)(1).

22. Plaintiff Maine Consumers for Affordable Health Care (““MCAHC’”’) is a non-
profit organization committed to helping the people of Maine obtain affordable, quality health
care. It is located at One Weston Court, Level 1, Augusta, Maine. During the class period,
Plaintiff's members indirectly purchased prescription pharmaceuticals manufactured and/or
distributed by Defendants and were injured by the illegal conduct alleged herein. As an
unincorporated association, MCAHC has standing to pursue this action under Fed. R. Civ. P.
17(b)(1).

23. Plaintiff Massachusetts Senior Action Council (““MSAC”) is a nonprofit
advocacy group for seniors, especially championing health care issues. It has 3,000 individual
members and over 60 affiliate organizations. It 1s located at 565 Warren Street, Boston,
Massachusetts. During the class period, Plaintiff's members indirectly purchased prescription
pharmaceuticals manufactured and/or distributed by Defendants and were injured by the illegal
conduct alleged herein. As an unincorporated association, MSAC has standing to pursue this
action under Fed. R. Civ. P. 17(b)(1).

24, Plaintiff MASSPIRG is Massachusetts’ largest consumer advocacy group. It
is located at 29 Temple Place, Boston, Massachusetts. During the class period, Plaintiff's
members indirectly purchased prescription pharmaceuticals manufactured and/or distributed by
Defendants and were injured by the illegal conduct alleged herein. As an unincorporated
association, MASSPIRG has standing to pursue this action under Fed. R. Civ. P. 17(b)(1).

25. Plaintiff Minnesota Senior Federation (“MSF”) is a statewide, nonprofit and

nonpartisan organization with 25,000 active members and 400 affiliated organizations,

M:;\AWP\Pleading\FirstAmendedComplaint.doc

Case 1:01-cv-12257-PBS Document 56-2 Filed 03/18/02 Page 9 of 30

representing 100,000 individuals in all 87 counties. It 1s located at 555 Park St., Ste. 110, St.
Paul, Minnesota. During the class period, Plaintiff's members indirectly purchased prescription
pharmaceuticals manufactured and/or distributed by Defendants and were injured by the illegal
conduct alleged herein. As an unincorporated association, MSF has standing to pursue this
action under Fed. R. Civ. P. 17(b)(1).

26. Plaintiff New Jersey Citizen Action (“NJCA”) is the state’s largest
independent citizen watchdog. It is located at 85 Raritan Ave., #100, Highland Park, New Jersey.
During the class period, Plaintiff's members indirectly purchased prescription pharmaceuticals
manufactured and/or distributed by Defendants and were injured by the illegal conduct alleged
herein. As an unincorporated association, NJCA has standing to pursue this action under Fed. R.
Civ. P. 17(b)(1).

27. Plaintiff New York StateWide Senior Action Council (“StateWide”) is a
grassroots membership organization made up of individual senior citizens and senior citizen clubs
from all parts of New York State. It is located at 275 State Street, Albany, New York. During
the class period, Plaintiff's members indirectly purchased prescription pharmaceuticals
manufactured and/or distributed by Defendants and were injured by the illegal conduct alleged
herein. As an unincorporated association, StateWide has standing to pursue this action under
Fed. R. Civ. P. 17(b)(1).

28. Plaintiff North Carolina Fair Share (“NCFS”) is a non-profit grassroots
organization. It is located at 3824 Barrett Drive, Suite 312, Raleigh, North Carolina. During the
class period, Plaintiff’s members indirectly purchased prescription pharmaceuticals manufactured

and/or distributed by Defendants and were injured by the illegal conduct alleged herein. As an

M:\A WP\Pleading\FirstAmendedComplaint.doc

Case 1:01-cv-12257-PBS Document 56-2 Filed 03/18/02 Page 10 of 30

unincorporated association, NCFS has standing to pursue this action under Fed. R. Civ. P.
17(b)(1).

29. Plaintiff Oregon Health Action Campaign (“OHAC’”) is a non-profit public
interest organization that works to enable Oregon citizens to become better health care consumers
while maintaining affordable health care costs. It is located at 3896 Beverly Avenue, N.E.,
Building J-6, Salem, Oregon. During the class period, Plaintiffs members indirectly purchased
prescription pharmaceuticals manufactured and /or distributed by Defendants and were injured by
the illegal conduct alleged here. As an unincorporated association, OHAC has standing to pursue
this action under Fed. R. Civ. P. 17(b)(1).

30. Oregon State Public Interest Research Group (“OSPIRG”) is a non-profit
public interest research and advocacy group with 33,000 members throughout the state of
Oregon. It is located at 1536 S.E. 11th Street, Portland, Oregon. During the class period,
Plaintiff's members indirectly purchased prescription pharmaceuticals manufactured and/or
distributed by Defendants and were tnjured by the illegal conduct alleged herein. As an
unincorporated association, OSPIRG has standing to pursue this action under Fed. R. Civ. P. 17
(b)(1).

31. Plaintiff Pennsylvania Alliance for Retired Americans (“PARA”) is a
nonprofit, advocacy group committed to promoting affordable healthcare. It is located at 2116
Chestnut St., Philadelphia, Pennsylvania. During the class period, Plaintiff's members indirectly
purchased prescription pharmaceuticals manufactured and/or distributed by Defendants and were
injured by the illegal conduct alleged herein. As an unincorporated association, PARA has
standing to pursue this action under Fed. R. Civ. P. 17(b)(1).

32. Plaintiff United Senior Action of Indiana, Inc. (“USAT”) is a nonprofit

-10-

M:\AWP'Pleading\FirstAmendedComplaint.doc

Case 1:01-cv-12257-PBS Document 56-2 Filed 03/18/02 Page 11 of 30

advocacy group located at 1920 West Morris St., #246, Indianapolis, Indiana. During the class
period, Plaintiff's members indirectly purchased prescription pharmaceuticals manufactured
and/or distributed by Defendants and were injured by the illegal conduct alleged herein. As an
unincorporated association, USAI has standing to pursue this action under Fed. R. Civ. P.
17(b)(1).

33. Plaintiff Vermont Public Interest Research Group (“VPIRG”’) has been
Vermont’s leading watchdog and advocacy group since 1972. It is located at 141 Main Street,
Ste. 6, Montpelier, Vermont. During the class period, Plaintiff's members indirectly purchased
prescription pharmaceuticals manufactured and/or distributed by Defendants and were injured by
the illegal conduct alleged herein. As an unincorporated association, VPIRG has standing to
pursue this action under Fed. R. Civ. P. 17(b)(1).

34. Plaintiff West Virginia Citizen Action (“WVCA”) is a nonprofit organization
devoted to increase the voice of the average citizen in public affairs with an emphasis on health
care reform. It is located at 1500 Dixie Street, Charlestown, West Virginia. During the class
period, Plaintiff's members indirectly purchased prescription pharmaceuticals manufactured
and/or distributed by Defendants and were injured by the illegal conduct alleged herein. As an
unincorporated association, WVCA has standing to pursue this action under Fed. R. Civ. P.
17(b)(1).

35. Plaintiff Wisconsin Citizen Action (“WCA”) is the state’s premiere public
interest organization with 53,000 individual members and 250 affiliate organizations. It is
located at 1202 Williamson St., Ste. B, Madison, Wisconsin. During the class period, Plaintiff's
members indirectly purchased prescription pharmaceuticals manufactured and/or distributed by

Defendants and were injured by the illegal conduct alleged herein. As an unincorporated

-ll-

M:\AWP\Pleading\FirstA mendedComplaint.doc

Case 1:01-cv-12257-PBS Document 56-2 Filed 03/18/02 Page 12 of 30

association, WCA has standing to pursue this action under Fed. R. Civ. P. 17(b)(1).

36. Plaintiff Betty Sicher is a citizen and resident of the State of New York and a
member of New York StateWide Semior Action Council. She resides at 31 South Rigaud Rd.,
Spring Valley, New York. During the class period, Sicher’s clinician administered her, in the
clinician’s office, a Plan B covered prescription pharmaceutical manufactured and distributed by
Defendants. Sicher, a Plan B participant, or her Medigap insurer paid the 20% co-payment.

37. Plaintiff Joan Lee is a citizen and resident of the State of California and a
member of the Gray Panthers of Sacramento as well as the Congress of California Seniors. She
resides at 5313 Fernwood Way, Sacramento, California. During the class period, Ms. Lee’s
clinician administered her, in the clinician’s office, a Plan B covered prescription pharmaceutical
manufactured and distributed by Defendants. Lee, a Plan B participant, or her Medigap insurer,
paid the twenty percent (20%) co-payment.

38. Plaintiff John Bennett is a citizen and resident of the Commonwealth of
Massachusetts and a member of Massachusetts Senior Action Counsel. He resides at 15G
Mansion Woods Drive, Agawam, Massachusetts. During the class period, Bennett’s clinician
administered him, in the clinician’s office, a Plan B covered prescription pharmaceutical
manufactured and distributed by Defendants. Bennett, a Plan B participant, or his Medigap
insurer, paid the twenty percent (20%) co-payment.

39, Plaintiff Pearl Munic is a citizen and resident of the State of Minnesota and a
member of Minnesota Senior Federation. She resides at 15 East Owatonna Street, Duluth,
Minnesota. During the class period, Munic’s clinician administered her, in the clinician’s office,
a Plan B covered prescription pharmaceutical manufactured and distributed by Defendants.

Munic, a Plan B participant, or her Medigap insurer, paid the twenty percent (20%) co-payment.

-1]2-

M:\AWP\Pleading\FirstAmendedComplaint.doc

Case 1:01-cv-12257-PBS Document 56-2 Filed 03/18/02 Page 13 of 30

40. Plaintiff Sue Miles is a citizen and resident of the State of New York. She
resides at 80 LaSalle St., #5A, New York, New York 10027. During the class period, Miles’s
clinician administered her, in the clinician’s office, a Plan B covered prescription pharmaceuticals
manufactured and distributed by Defendants. Miles, a Plan B participant, or her Medigap insurer,
paid the twenty percent (20%) co-payment.

41. Plaintiff Jack Douglas is a citizen and resident of the State of New York. He
resides at 83-45 Broadway, Apt. 423, Elmhurst, New York 11373. During the class period,
Douglas’s clinicians administered him, in the clinicians’ offices, Plan B covered prescription
pharmaceuticals manufactured and distributed by Defendants. Douglas, a Plan B participant, or
her Medigap insurer, paid the twenty percent (20%) co-payment.

Defendants

42. Defendant Abbott Laboratories, Inc. (“Abbott”) is a corporation organized
and existing under the laws of the state of Mlinois. Abbott’s headquarters are located at 100
Abbott Park Rd., N. Chicago, Illinois. Abbott, one of the world’s largest pharmaceutical
companies, is in the business of manufacturing prescription medications for clinical distribution
by Medicare Plan B providers nationwide. Abbott’s revenues for the first half of 2001 were over
$7.6 billion.

43. Defendant Allergan, Inc. (“Allergan”) is a corporation organized and existing
under the laws of the state of California. It is headquartered at 2525 Dupont Drive, Irvine,
California. Allergan is in the business of providing eye care and specialty pharmaceutical
products for clinical distribution by Medicare Plan B providers nationwide.

44, Defendant Alpha Therapeutic Corporation (“Alpha”) is a corporation

headquartered at 5555 Valley Blvd., Los Angeles, California. Alpha is a subsidiary of Mitsubishi

-13-

M:\AWP\Pleading\FirstAmendedComplaint.doc

Case 1:01-cv-12257-PBS Document 56-2 Filed 03/18/02 Page 14 of 30

Pharma Corporation operating under California law. Alpha is in the business of providing home
infusion pharmaceuticals for clinical distribution by Medicare Plan B providers nationwide.

45. Defendant American Bioscience, Inc. (“ABI”) 1s a corporation organized and
existing under the laws of Cahfornia. It is headquartered at 2825 Santa Monica Blvd., Santa
Barbara, California. ABI is in the business of manufacturing prescription drugs for clinical
distribution by Medicare Plan B providers nationwide.

46. Defendant American Home Products Corporation (““AHP”’) is the parent
company of Wyeth Worldwide and, currently, Immunex. It is organized and exists under the
laws of the state of New Jersey and its headquarters are located at 5 Giralda Farms, Madison,
New Jersey. American Home Products is one of the largest pharmaceutical and health care
product companies in the world. Its annual sales in 2000 exceeded $13.3 billion. Through its
subsidiaries, AHP manufactures and distributes prescription drugs for clinical distribution by
Medicare Plan B providers nationwide.

47. Defendant Amgen Inc. (“Amgen”) is a corporation organized and existing
under the laws of the state of California. Amgen is headquartered at Amgen Center, Thousand
Oaks, California. Amgen is in the business of manufacturing and distributing prescription
pharmaceuticals for clinical distribution by Medicare Plan B providers nationwide. In 2000,
Amgen’s revenues exceeded $3.6 billion.

48. Defendant AstraZeneca U.S. (“AstraZeneca”) is a corporation organized and
existing under the laws of the state of Delaware. Its primary offices are located at 1800 Concord
Pike, Wilmington, Delaware, 725 Chesterbrook Blvd., Wayne, Pennsylvania, and 50 Otis St.,
Westborough, Massachusetts. AstraZeneca is in the business of manufacturing and distributing

prescription pharmaceuticals for clinical distribution by Medicare Plan B providers nationwide.

-j4-

M:\AWP\Pleading\FirstAmendedComplaint.doc

Case 1:01-cv-12257-PBS Document 56-2 Filed 03/18/02 Page 15 of 30

49. Defendant Aventis Pharma (“Aventis”) is a corporation organized and
existing under the laws of the state of New Jersey and operating in more than 120 countries in the
world. Its principle place of business in the U.S. is located at 300 Somerset Corporation Blvd.,
Bndgewater, New Jersey. Aventis is in the business of manufacturing and distributing
prescription pharmaceuticals for clinical distribution by Medicare Plan B providers nationwide.
In 1999, Aventis’s pro forma sales for its pharmaceuticals were $3.3 billion.

50. Defendant Baxter International Inc. (“Baxter’’) is a corporation organized and
existing under the laws of Ilinois. It maintains its principal place of business at One Baxter
Parkway, Deerfield, Illinois. Baxter manufactures and distributes prescription drugs to clinical
administrators. Baxter’s annual sales from January 1, 2000 through December 31, 2000 were
over $6.8 billion.

$1. Defendant Bayer Corporation (“Bayer’’) is a highly diversified health care
company whose principal business is the development, manufacture and sale of health care
products and services, including pharmaceuticals. Bayer conducts extensive business, including
the sale of pharmaceuticals that are the subject of the AWP Scheme alleged herein. Bayer AG is
the parent company of Bayer, the subsidiary in the United States that sells and markets Medicare
covered prescription drugs to clinicians nationwide. Bayer is located at 100 Bayer Rd.,
Pittsburgh, Pennsylvania, 15205-9741.

52. Defendant Bristol-Myers Squibb Co. (“Bristol-Myers”) is a corporation
organized in Delaware with a principal place of business located at 345 Park Avenue, New York,
New York. Bristol-Myers manufactures and distributes prescription drugs that are clinically
distributed by Medicare Plan B providers nationwide. Bristol-Myers’ sales for the year 2000

were more than $21 billion worldwide.

~ [5-

M:\AWP\Pleading\FirstAmendedComplaint.doc

Case 1:01-cv-12257-PBS Document 56-2 Filed 03/18/02 Page 16 of 30

53. Defendant Chiron (“Chiron”), a Bayer subsidiary, is a corporation organized
and existing under the laws of the state of California. Chiron’s corporate headquarters are located
at 4560 Horton Street, Emeryville, California. Chiron manufactures and distributes prescription
drugs to Medicare clinical administrators. Revenues for 2000 were $972 million.

54. Defendant Dey, Inc. (“Dey”) is a Delaware corporation with its principle
place of business at 2751 Napa Valley Corporate Drive, Napa, California. Dey is a specialty
pharmaceutical company focused on the development, manufacturing and marketing of
prescription drugs used in the treatment of selected respiratory diseases and allergies. Dey, one
of the largest U.S. manufacturers of such pharmaceuticals, had net sales of $266 million in 1998.

55. Defendant Fujisawa Healthcare, Inc. (“Fujisawa”) is a corporation organized
and existing under the laws of the state of Illinois, with its principal place of business located at
Parkway North Center, Three Parkway North, Deerfield, Illinois. Fujisawa is a subsidiary of
Fujisawa Pharmaceutical Co., Ltd, headquartered in Osaka, Japan. Fugisawa develops and
manufactures prescription drugs clinically distributed by Medicare Plan B providers nationwide.

56. Defendant Immunex Corporation (“Immunex”), currently a Bayer subsidiary,
is a corporation organized and existing under the laws of the state of Washington. Its principal
place of business is located at 51 University Street, Seattle, Washington. Immunex develops and
manufactures prescription drugs for clinical distribution by Medicare Plan B providers
nationwide. Immunex’s total revenues for 1999 were $542 million.

57. Defendant Eli Lilly and Company (“Lilly”) is a corporation organized and
existing under the laws of Indiana. Its worldwide headquarters are located at Lilly Corporate
Center, Indianapolis, Indiana. Lilly is in the business of manufacturing prescription drugs for

clinical distribution by Medicare Plan B providers nationwide.

-16-

M:\AWP\PleadingWirstAmendedComplaint.doc

Case 1:01-cv-12257-PBS Document 56-2 Filed 03/18/02 Page 17 of 30

58. Defendant Pharmacia & Upjohn Company (“P&U”) is a subsidiary of
Pharmacia Corp. In 1995, Pharmacia & Upjohn was formed through the merger of Pharmacia
AB and The Upjohn Company. Pharmacia & Upjohn became a global provider of human
healthcare products, animal health products, diagnostics and specialty products. In 1998,
Pharmacia & Upjohn relocated its global headquarters from the United Kingdom to New Jersey
(USA). In September 1999, the company established its global headquarters on a 70-acre campus
in Peapack, New Jersey. This site is now the management and pharmaceutical headquarters for
Pharmacia Corporation.

59. Defendant Pharmacia Corp. (“Pharmacia”) is a corporation organized and
existing under the laws of the state of New Jersey. Pharmacia was created through the merger of
former Monsanto and Defendant Pharmacia & Upjohn on March 31, 2000. Pharmacia’s
corporate headquarters are located at 100 Route 206 North, Peapack, New Jersey. Pharmacia
manufactures prescription drugs for clinical distribution by Medicare Plan B providers
nationwide.

60. Defendant Schering-Plough, Corp. (“Schering-Plough”) is a corporation
organized and existing under the laws of the state of New Jersey. Its headquarters are located at
2000 Galloping Hill Rd., Kenilworth, New Jersey. Schering-Plough manufactures prescription
drugs for distribution by Medicare Plan B providers nationwide.

61. Defendant SICOR, Inc. (“SICOR”) is a Delaware corporation organized and
existing under the laws of California. Its principal place of business is located at 19 Hughes,
Irvine, California. SICOR manufactures injectable pharmaceutical products for distribution by
Medicare Plan B providers nationwide.

62. Defendant Smithkline Beecham Corporation d/b/a GlaxoSmithKline (“GSK”)

-17-

M:\AWP\Pleading\FirstAmendedComplaint.doc

Case 1:01-cv-12257-PBS Document 56-2 Filed 03/18/02 Page 18 of 30

is a corporation organized and existing under the laws of the state of Pennsylvania. It is located
at One Franklin Plaza, Philadelphia, Pennsylvania. GSK manufactures prescription drugs for
clinical distribution by Medicare Plan B providers nationwide. GSK’s research division is
located at 5 Moore Drive, Research Triangle Park, North Carolina.

63. Defendant Takeda Chemical Industries LTD (“Takeda”) is headquartered in
Osaka, Japan with U.S. headquarters located in Lincolnshire, Illinois. Takeda is one of the
world’s largest pharmaceutical manufacturers. Its 1999 net sales exceeded $8.7 billion. Takeda
develops and manufactures prescription drugs for clinical distribution by Medicare Plan B
providers throughout the United States.

64. The acts charged in this complaint as having been done by the Defendants
were authorized, ordered, or done by its officers, agents, employees, or representatives while
actively engaged in the management of the Defendants’ business or affairs.

65. Various other individuals, partnerships, sole proprietors, business entities,
companies and corporations, presently unknown to Plaintiffs and not named as Defendants in this
complaint, participated as co-conspirators in the violations alleged in this complaint and
performed acts and made statements in furtherance thereof. Such unknown persons or entities
acted as co-conspirators and aided, abetted or participated with Defendants in the commission of
the wrongful acts alleged in this complaint.

FACTS

The Medicare Insurance Program

66. In 1965, Congress enacted Title XVIII of the Social Security Act (the “Act”)
to pay for the cost of certain medical services for the specific purpose of providing a coordinated

and comprehensive approach to federal health insurance and medical care for the aged and

-18-

M:\AWP'Pleading\FirstAmendedComplaint.doc

Case 1:01-cv-12257-PBS Document 56-2 Filed 03/18/02 Page 19 of 30

disabled. The Act and its associated programs, usually called “Medicare,” is codified at 42
ULS.C. § 1395, et seq.

67. As a general rule, the Medicare Program does not pay for most prescription
pharmaceuticals, such as drugs that a Medicare beneficiary self-administers by swallowing in
liquid or pill form.

68. Medicare Part B allows for payment of the cost of only certain covered drugs
(“Covered Drugs.”) Covered Drugs include the following: (i) drugs that must be administered by
a health care provider; (ii) drugs needed to facilitate the use of covered durable medical
equipment; (iii) certain immunizations; and (iv) some self-administered drugs usually relating to
cancer or immunosuppressant therapy.

69. Congress crafted Medicare Part B to provide supplementary medical
insurance for individuals aged 65 or older, those who are disabled, and individuals suffering from
end-stage renal failure. Participation in Medicare’s Part B program is voluntary and participants
pay a monthly premium, a yearly deductible and a twenty percent co-pay for each covered drug
treatment. Medicare Part B is not an entitlement program; participants pay premiums and a
substantial co-pay for physician services and Covered Drugs.

70. Although the U.S. Department of Health and Human Services (“HHS”) is
ultimately responsible for the funding, administrating and supervising of the Medicare program,
Congress specifically created a program to administer Medicare through contracts with
organizations experienced as third party health care services payors. Under Medicare Plan B,
these contractors are called “carriers.” A division of HHS, the Health Care Financing
Administration (“HCFA”), is responsible for ensuring that the carriers comply with Medicare

program regulations and requirements.

-19-

M:\AWP\Pleading\lirstAmendedComplaint.doc

Case 1:01-cv-12257-PBS Document 56-2 Filed 03/18/02 Page 20 of 30

71. Carriers reimburse allowable costs for Plan B medications using regulatory
formula based on the average wholesale price (““AWP”) calculated and published by the
pharmaceutical industry. The allowed amount to be paid for a drug under Medicare is determined
under the payment methodology set forth in 42 C.F.R. 405.517.

72. From January 1, 1992 to November 2, 1998, under 42 C.F.R. 405.517, drugs
and biologicals furnished incident to a physician’s service and drugs furnished by an independent
dialysis facility were paid based on the lower of the estimated acquisition cost or the national
average wholesale price of the drug. During this time the estimated acquisition cost was
determined based on surveys of the actual invoice prices paid for the drug. In calculating the
estimated acquisition cost of a drug, carriers are permitted to consider factors such as inventory,
waste and spoilage. 42 C.F.R. 405.517(b); 56 Fed. Reg. 59621.

73. Payment for multiple source drugs was formulated based on the lower of the
estimated acquisition cost or the wholesale price defined as the median price for all sources of the
generic drug. 42 C.F.R. 405.517(c); 56 Fed. Reg. 59621.

74. On November 2, 1998, HHS amended the applicable regulations to include
drugs or biologicals furnished in conjunction with durable medical equipment. 42 C.F.R.
405.517; 63 Fed. Reg. 58905. The regulation which was published in the Federal Register on
November 25, 1991 and became effective on or about January 1, 1992 as amended at 63 Fed.
Reg. 58849 provides:

§ 405.517 Payment for drugs and biologicals that are not paid on a
cost or prospective payment basis.

(a) Applicability. Payment for a drug or biological that is not paid
on a cost or prospective payment basis is determined by the
standard methodology described in paragraph (b) of this section.
Examples of when this procedure applies include a drug or
biological furnished incident to a physician’s service, a drug or
biological furnished by an independent dialysis facility that is not

-20-

M:\AWP\Pleading\FirstAmendedComplaint.doc

Case 1:01-cv-12257-PBS Document 56-2 Filed 03/18/02 Page 21 of 30

included in the ESRD composite rate set forth in § 413.170 (c) of
this chapter, and a drug or biological furnished as part of the
durable medical equipment benefit.

(b) Methodology. Payment for a drug or biological described in
paragraph (a) of this section 1s based on the lower of the actual
charge on the Medicare benefits or 95 percent of the national
average wholesale price of the drug or biological.

(c) Multiple-source drugs. For multiple-source drugs and
biologicals, for purposes of this regulation, the average wholesale
price 1s defined as the lesser of the median average wholesale price
for all sources of the generic forms of the drug or biological or the
lowest average wholesale price of the brand name forms of the
drug or biological.

75. Since 1998, payment allowances for drugs and biologicals have been
reimbursed by the Medicare Program based on the lower of the actual billed charge or 95 percent
of the AWP reflected in pharmaceutical industry publication sources such as the Red Book or
Medi-Span. HHS Program Memorandum AB-99-63.

76. Medicare Part B rermburses medical providers 80% of the allowable
reimbursable amount. The Medicare beneficiary, or his or her Medigap insurer, pays the
additional 20% (the “co-payment’”). Each enrollee incurring expenses for benefits and services
covered under Medicare Part B is entitled to recover from the program, or have the program pay
directly to the health care provider, 80 percent of the reasonable charges for the covered services.
Where a health care provider elects to accept payment directly from the program, it may not
charge the individual enrollee more than 20 percent of the reasonable cost of the Covered Drug or
biological. 42 U.S.C. §§ 1395(j) — 1395(w-4).

77. Medicare Plan B carriers rely on the AWP published in pharmaceutical
industry publications, such as the Red Book, Medi-Span, and Price Alert, to ascertain the
allowable Medicare reimbursement amount.

78. Ostensibly the industry publications provide objectively verifiable average

-?1-

M:\AWP'\Pleading\FirstAmendedComplaint.doc

Case 1:01-cv-12257-PBS Document 56-2 Filed 03/18/02 Page 22 of 30

wholesale price figures for Medicare Covered Drugs that support the industry’s allegations that
the stated prices are indeed “average” prices at a “wholesale” level of distribution.

Investigations Into Industry Pricing Practices

79. Over a period of at least five years, the Office of the Inspector General of the
Department of Health and Human Services (“OIG”), the Department of Justice (“DOJ”), the
National Association of Medicaid Fraud Control Units (“Medicaid Fraud Units”) and Group
Purchasing Organizations (“GPOs”) have investigated the pharmaceutical industry pursuant to
widespread allegations of the industry’s fraudulent inflation of reimbursement allowance rates for
pharmaceutical products, including Medicare Covered Drugs.

80. In connection with these investigations, among other things, these agencies
compiled data from drug wholesalers’ catalogs for approximately 400 national drug codes
representing about 50 different chemical compounds. This data suggests that the industry has
abused the privilege designated to them by Congress to set and publicize an “average” wholesale
price. In fact, the data reveals that pharmaceutical manufacturers artificially and grossly inflate
the true average wholesale prices for Medicare Covered Drugs.

81. The AWPs published by Defendants with the knowledge that they would be
used by Medicare-contracted carriers to determine reimbursement allowances, bear little or no
resemblance to actual wholesale prices available to the health care providers who biil for these
drugs.

82. Each Defendant controls the published AWP for its products and has
regularly and unjustifiably raised the AWP in order to capture and control market share and
massively increase gross product sales.

83. As acorollary to raising or maintaining artificially high “average wholesale

-22-

M:\AWP\Pleading\FirstAmendedComplaint.doc

Case 1:01-cv-12257-PBS Document 56-2 Filed 03/18/02 Page 23 of 30

price” reporting, when true actual wholesale costs decline, Defendants fail to reflect the decline in
the published wholesale price. In fact, each Defendant either maintains or raises the AWP as
acquisition rates decrease in order to entice clinicians to purchase that Defendant’s product.

The 1997 OIG Report

84. At least as early as 1997, the OIG and certain Congressional subcommittees
began investigating the Defendants and other pharmaceutical manufacturers for questionable
practices regarding the industry’s calculation of the AWP. The OIG compared Medicare
reimbursement for twenty-two of Defendants’ Plan B prescription drugs with the cost of
acquiring the same drugs through sources other than through the Defendants in 1996.

85. The OIG concluded that Medicare reimbursement, for these twenty-two drugs
alone, exceeded the actual wholesale prices by $447 million. In the same study, the OIG also
found that Medicare would have saved $445 million on the same twenty-two drugs in 1995. Of
these twenty-two drugs, the OIG found that Medicare had paid twice the actual wholesale price
for about one-third of them.

The 1998 OIG Report

86. In 1998, the OIG reviewed drug costs in the Department of Veteran Affairs
(“VA”) as compared to Medicare costs for the same drugs. The OIG focused on the 34 drugs that
had each cost Medicare Plan B at least $10 million in 1996.

87. The 1998 Report concluded that if Medicare had purchased these drugs at the
same rates paid by the VA, Medicare and its beneficiaries would have saved $1.03 billion in 1998
on these 34 drugs alone. Medicare would have saved at least 40 percent of the reimbursable
allowance for almost half the 22 drugs, and 93 percent for one particular drug, had it been

charged marketplace prices for those drugs.

- 23 -

M:\AWP'Pleading\FirstAmendedComplaint.doc

Case 1:01-cv-12257-PBS Document 56-2 Filed 03/18/02 Page 24 of 30

The 2000 DOJ Price Investigation

88. During 2000, the DOJ accumulated price data from a number of wholesale
drug catalogs. It provided the data to First DataBank to compile for use by the pharmaceutical
industry in calculating its AWP.

89. In September 2000, HCFA authorized Medicare carriers to use the prices
compiled by First DataBank in reimbursing Plan B claims.

90. In November 2000, however, HCFA rescinded the order apparently as a result
of pressures placed on the legislature and the administration by health care providers and the
pharmaceutical industry.

91. As aresult, in December 2000, Congress passed legislation requiring the
General Accounting Office (“GAO”) to complete a more comprehensive study before permitting
HCFA to put in place the lower reimbursement rates.

Further OIG Investigations

92. After HCFA required its carriers to establish new Plan B reimbursement
allowances, the OIG conducted a study comparing the Medicare allowable amount for 24 drugs
to the amount reimbursable under Medicaid and the VA. These drugs represented 79% (or $3.1
billion) of the $3.9 billion in total Medicare drug charges for 1999.

93. The OIG concluded that Medicare and Medicare beneficiaries would have
saved $1.6 billion in 1999 if they had paid the same price for the 24 drugs that the VA paid. It
also concluded that Medicare reimbursement rates were fifteen to ninety-one percent greater than
the prices paid by the VA. The OIG’s analysis of the AWP list lead to the conclusion that in the
year 2000, Medicare paid at least $887 million more than the actual wholesale prices available.

94, This vast overpayment resulted from the Defendants’ manipulation of the

-24-

M:\A WP'Pleading\FirstamendedComplaint.doc

Case 1:01-cv-12257-PBS Document 56-2 Filed 03/18/02 Page 25 of 30

reimbursement based on the pharmaceutical industry’s published AWPs.

The September 2001 GAO Report

95. In September 2001, the GAO reported to the Commerce Committee that
Medicare had paid a grossly disproportional amount for Plan B pharmaceuticals as compared to
the providers’ true acquisition costs.

Other Congressional Investigations

96. In early 1999, the U.S. House of Representatives Committee on Commerce
(“Commerce Committee”) began to investigate the prices Medicare pays for Covered Drugs.
Over the course of the investigation, the committee staff reviewed almost 100,000 pages of
internal drug manufacturers’ documents relating to pricing.

97. Congressional investigations evidence that Defendants have reported and
published artificially inflated reimbursement allowance rates and manipulated these prices as a
component of Defendants’ sales and marketing efforts aimed at healthcare providers in order to
induce those providers to rely exclusively on Defendants’ products.

98. Congressional investigations also indicate that Defendants’ reported
wholesale prices are monumentally higher than the amounts clinicians actually pay for the drugs.
As a result, Medicare beneficiaries, their insurers and American taxpayers pay far more than the
true average wholesale price that Congress intended them to pay. Indeed, Medicare and
Medicare beneficiaries pay more for Plan B pharmaceuticals than any other consumer group in
the U.S.

99. In a September 28, 2000 letter from the House of Representation Committee
on Wage and Means, Subcommittee on Health, Congressman Pete Stark has stated that the

Defendants’ “corruptive scheme is perverting financial integrity of the Medicare program and

-25 -

M:\AWP\Pleading\FirstAmendedComplaint.doc

Case 1:01-cv-12257-PBS Document 56-2 Filed 03/18/02 Page 26 of 30

harming beneficiaries who are required to pay 20% of Medicare’s current limited drug benefit.”
100. Congressman Stark made the following five “showing conclusions”:

First — Certain drug manufacturers have abused their position of
privilege in the United States by reporting falsely inflated drug
prices in order to create a de facto improper kickback for their
customers.

Second — Certain drug manufacturers have routinely acted with
impunity in arranging improper financial inducements for their
physicians and other healthcare provider customers.

Third — Certain drug manufacturers engage in the fraudulent price
manipulation for the express purpose of causing federally funded
health care programs to expend scarce tax dollars in order to
arrange de facto kickbacks for the drug manufacturers’ customers
at a cost of billions of dollars.

Fourth -- Certain drug manufacturers arrange kickbacks to
improperly influence physicians’ medical decisions and judgments
notwithstanding the severely destructive effect upon the
physician/patient relationship and the exercise of independent
medical judgment.

Fifth — Certain drug manufacturers engage in illegal price
manipulation 1n order to increase utilization of their drugs beyond
that which ts necessary and appropriate based on the exercise of
independent medical judgment not affected by improper financial
incentives.

101. On September 21, 2001, Congressman Stark observed that according to
the OIG, Defendants’ illegal abuse of the Medicare Plan B formulary costs Medicare and
Medicare beneficiaries as much as $1.9 billion annually.

102. Because Plan B beneficiaries pay a 20% co-payment, the elderly and
disabled pay approximately $400 million per year in excessive costs for pharmaceuticals that they
depend on. In addition, Plan B beneficiaries have no means of securing an adequate substitute or

alternative medications.

-26-

M:\A WP\Pleading\FirstAmendedComplaint.doc

Case 1:01-cv-12257-PBS Document 56-2 Filed 03/18/02 Page 27 of 30

Defendants’ Fraudulent Marketing Scheme

103. Because Defendants could establish false “average” wholesale prices by
posting them in pharmaceutical industry publications, Defendants could charge administering
clinicians substantially less than those published prices. The lower the acquisition cost, and the
higher the retmbursement allowance, the greater the “spread” between the two and, the greater
the clinician’s financial incentive (profit) to prescribe Defendants’ Covered Drugs.

104. As part of Defendants’ scheme to induce health care providers to prescribe
the drugs they manufacture, Defendants grossly exaggerated the AWP for Covered Drugs and
sold these drugs to providers at a fraction of the so-called average wholesale price. Thus, the
“spread” between the providers’ acquisition cost and the allowable reimbursement rate — a fiction
created by the Defendants — acted as an incentive to providers to prescribe Defendants’ products
and discouraged use of less-costly alternative medications.

105. Defendants’ scheme induced clinicians to prescribe based not on efficacy
or the individualized needs of the Medicare beneficiary, but on profit and greed alone.

106. Defendants marketed this scheme in order to massively increase their
overall sales as well as to capture and maintain market share.

107. The execution of this scheme of fraudulent incentives was an interstate
endeavor intentionally carried out by Defendants’ employees. Widespread, interstate cooperation
of clinicians, with Defendants’ marketing and sales representatives was also a necessary
component of Defendants’ fraudulent incentive scheme.

108. Defendants also have made available directly to health care providers
many other financial inducements to stimulate sales of Covered Drugs at the expense of Plaintiffs

and the Class. These inducements include volume discounts, rebates, off-invoice pricing, and

-2?7-

M:\A WP'\Pleading\FirstAmendedComplaint.doc

Case 1:01-cv-12257-PBS Document 56-2 Filed 03/18/02 Page 28 of 30

free goods such as gifts of cash and other items of value. The Defendants used these incentives
to persuade providers to prescribe Defendants’ products exclusively. Each Defendant thereby
falsely and illegally captured and/or maintained a greater market share for its Covered Drug.

Defendants’ Use of the Mails and Wires in Furtherance of the Scheme

109. Defendants’ illegal conduct and practice was carried out by an array of
employees, working across state boundaries, who necessarily relied upon the frequent transfer of
information and funds by mail and wire.

110. Because Defendants’ conducted their pervasive fraudulent market
manipulation from their individual headquarters, Defendants, by necessity, required the use of the
United States mail and wires to communicate with district managers, located in every state.
These district managers oversaw the daily communication between sales representatives and
clinicians.

111. Defendants’ conduct included mailing and transmitting, (via tnterstate
wires), numerous marketing and sales materials relating to Covered Drugs, Medicare
reimbursement allowances and increased profit margins garnered by clinicians in prescribing the
Defendants’ products.

112. Defendants also used the mail and wires to publish and promulgate the
AWP amounts listed in industry publications, as well as to arrange illegal financial incentives
discussed herein.

113. Defendants also used the mail and wires to promulgate through industry
publications the information clinicians require in order to collect retmbursement under Plan B.

The Fraudulent Scheme as Exemplified by Defendant Dey’s Conduct

114. According to Congressional and government agency investigations,

- 28 -

M:\AWP\Pleading\VirstAmendedComplaint.doc

Case 1:01-cv-12257-PBS Document 56-2 Filed 03/18/02 Page 29 of 30

Defendant Dey has consistently engaged in an ongoing, prolonged and deliberate scheme to
inflate AWPs.

115. Dey manufactures albuterol sulfate. Albuterol is a drug commonly used
with a nebulizer to treat patients suffering from asthma, emphysema and other chronic pulmonary
diseases. Medicare spent approximately $246 million for albuterol in 1999 — a figure that
represents nearly half of the $545 million allowed for all nebulizer-type drugs in 1996.

116. The OIG determined in 1996 that Dey listed the AWP for albuterol sulfate
as $.42 per milligram.

117. The OIG, upon independent investigation, found, however, that average
wholesale prices for albuterol ran between $.15 to $.21 per milligram. The published AWP
represented at least a 100% increase over the actual wholesale prices charged by Dey.

118. In addition, the GAO reported that albuterol sulfate was one of a small
number of products accounting for a disproportionately large amount of Medicare Plan B
spending and volume of sales.

119. Albuterol ranked fifth in total spending out of over 400 Covered Drugs
and accounted for 6.3% of overall Medicare spending.

120. The DOJ concluded that Dey had fraudulently inflated the AWP for
albuterol and three other Plan B medications: acetylcysteine, cromolyn sodium, and
metaproterenol sulfate.

121. The VA paid millions of dollars less per year for albuterol than Medicare
and Medicare beneficiaries. Medicare reimbursed almost seven times the amount paid by the
VA. Through the Federal Supply Schedule, the VA paid only $.07 per milligram of albuterol;

Medicare retmbursed clinicians — based on Dey’s published AWP — at $0.42 per mg.

~39.-

M:\AWP\Pleading\FirstAmendedComplaint.doc

Case 1:01-cv-12257-PBS Document 56-2 Filed 03/18/02 Page 30 of 30

122. A June, 2000 OIG report found that Medicare would have saved between
$47 million and $209 million per year by lowering its reimbursement amount for albuterol to
prices available through other sources. Approximately 20 percent of these savings would directly
benefit Medicare beneficiaries through reduced co-payments.

123. Dey’s spread for albuterol drastically increased during a seven year period
between 1992 and 1998. Clinicians’ profited progressively from year to year with a peak spread
of 67%. The following is an attachment from a letter dated September 25, 2000 by the Chairman
Committee on Commerce Tom Bliley to Nacny-Ann Min DeParle regarding Medicare drug
pricing manipulation:

Percentage of “Spread” Between Dey Lab’s Reported AWP and the Actual

Wholesale Price for Albuterol Sulfate 0.083%
NDC# 49502-0687-03, 3ml1/25’s

Red Book/First Data Bank McKesson Wholesale Percent
Year AWP Price “Spread”
1992 $32.30 $25.45 21.3%
1993 $30.25 $25.39 16.1%
1994 $30.25 $23.69 21.7%
1995 $30.25 $15.26 49.6%
1996 $30.25 $15.26 49.6%
1997 $30.25 $11.84 60.9%
1998 $30.25 $10.00 67.0%

Defendants Aventis and Pharma’s Manipulation of the AWP

124. Defendants Aventis and Pharma (successors to Hoescht) engaged in an
ongoing, prolonged and deliberate scheme to artificially inflate the AWP for Covered Drugs,
thereby defrauding Medicare and Medicare Plan B beneficiaries.

125. Aventis and Pharma manufacture Gammar®, an immune globulin used in
the treatment of hemophilia. In 1996, Aventis and Pharma listed the AWP for Gammar® as
$42.21. Independent investigation by the OIG revealed that the average wholesale prices

available to all other consumers of Gammar® -- all non-Medicare Plan B participants — ran

-30-

M:\AWP\Pleading\irstAmendedComplaint.doc

